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       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                              :
                                                      : 17-cr-589-JKB
               v.                                     :
                                                      :
FERMIN GOMEZ-JIMENEZ                                  :
                                                      :

  MOTION TO ADOPT, JOIN, AND CONFORM TO MOTIONS, OBJECTIONS, OR
 OTHER APPLICATIONS FOR RELIEF FILED AND RAISED BY CODEFENDANTS

       Fermin Gomez-Jimenez, by and through undersigned counsel, respectfully moves this

Court, pursuant to Federal Rule of Criminal Procedure 12(b) and 47 as well as Local Rule 207,

for the entry of an order granting Mr. Gomez-Jimenez leave to adopt, join, and conform to any

motion, objection or other application for relief requested by any codefendant at any time in this

proceeding, unless he expressly declines to join in a request made on their behalf. In support of

this motion, counsel states the following:

       1. Mr. Gomez-Jimenez is charged by indictment with multiple defendants.

       2. Many of the motions, objections or applications for relief filed by codefendants

will contain overlapping issues with Mr. Gomez-Jimenez. To the extent he has standing to

challenge certain evidence or has a legal interest in an issue raised, he requests permission to

adopt such requests or objections and adopt by reference any support memoranda and authority

provided by codefendants in support of such motions.

       3. This would avoid duplication and should expedite matters for the Court.
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       WHEREFORE, for the foregoing reasons as well as any additional reasons deemed

meritorious by the Court, counsel and Mr. Gomez-Jimenez request that the Court grant this

motion and signed the attached order.

                                           Respectfully submitted,

                                           /s/ Jenifer Wicks
                                           _________________________
                                           JENIFER WICKS
                                           MD Federal Bar No. 15573

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                                           _____/s/___________________
                                           TERESA WHALEN
                                           MD Federal Bar No. 25245

                                           801 Wayne Avenue, Suite 400
                                           Silver Spring, Maryland 20910
                                           (301) 588-1980; (301) 728-2905
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                                  CERTIFICATE OF SERVICE
          I hereby certify that I will electronically file the foregoing with the Clerk of Court

using the CM/ECF system which will then send a notification of such filing to the other parties

in this matter.


                                              /s/ Jenifer Wicks
                                              _________________________
                                              JENIFER WICKS
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      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                       :
                                               : 17-cr-589-JKB
             v.                                :
                                               :
FERMIN GOMEZ-JIMENEZ                           :
                                               :


                                        ORDER

      Based upon the MOTION TO ADOPT, JOIN, AND CONFORM TO MOTIONS,

OBJECTIONS, OR OTHER APPLICATIONS FOR RELIEF FILED AND RAISED BY

CODEFENDANTS, the record herein and for good cause shown, it is this ______day of

___________________ 2019 hereby

      ORDERED that the motion is GRANTED.



                                               Chief Judge James K. Bredar
